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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

GREGORY SMITH, et al.,

             Plaintiffs,                            Case No. 21-cv-10672
                                                    Hon. Matthew F. Leitman
vs.

CITY OF DETROIT, et al.,

          Defendants.
__________________________________________________________________/

                       ORDER REGARDING REMOVAL

      This matter was removed to this Court on March 26, 2021. See Notice of

Removal (Dkt. #1). Within five (5) days of today’s date, the parties shall file with

this Court — as separate docket entries — all answers, amended pleadings,

responsive pleadings, pending motions, and responses/replies to those motions that

were originally filed in state court. The Court generally will not consider any

unresolved motions pending in state court at the time of removal, unless they have

been re-filed on this Court's docket and using this Court’s case caption. The same

is true for any responses or replies that had been filed in state court in connection

with motions not yet resolved at the time of removal. Each party is responsible for

the docketing of its own documents with this Court.
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      To the extent briefing has not been completed on a pending motion at the time

of removal, the briefing schedule set forth in Local Rule 7.1(e) applies upon

docketing with this Court, unless the Court orders otherwise.

      IT IS SO ORDERED.

                                      /s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE

Dated: April 2, 2021


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on April 2, 2021, by electronic means and/or ordinary mail.

                                             s/Holly A. Monda
                                             Case Manager
                                             (810) 341-9764




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